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                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                  Respondent/Plaintiff,

v.                                                                  CV 10-0437 WJ/WPL
                                                                    CR 07-0615 WJ

RAUL PARRA,

                  Movant/Defendant.


        ORDER ADOPTING MAGISTRATE JUDGE’S PROPOSED FINDINGS AND
                       RECOMMENDED DISPOSITION

        Raul Parra has timely filed objections to the Magistrate Judge’s Proposed Findings and

Recommended Disposition. (See Doc. 13, 14.)1 Because the objections have no merit, I will deny

them.

        First, Parra repeats arguments for why the amount in his restitution order should be reduced.

(Doc. 13 at 1-2.) As the Magistrate Judge noted, restitution orders cannot be challenged in a § 2255

motion. United States v. Satterfield, 218 F. App’x 794, 796 (10th Cir. 2007) (citing United States

v. Bernard, 351 F.3d 360, 361 (8th Cir. 2003)). Parra then repeats arguments for why his counsel

provided ineffective assistance and had a conflict of interest. (Doc. 13 at 2-3.) I agree with the

Magistrate Judge that Parra has not shown that his counsel was forced to make decisions to Parra’s

detriment or that his counsel’s performance fell below an objective standard of reasonableness.

Finally, I reject Parra’s claim that his counsel was ineffective for not advising Parra that he was

susceptible to a sentence enhancement for obstruction of justice. (Doc. 13 at 5.) As the Magistrate



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            With an exception noted below, all document number references are to CV 10-0437 WJ/WPL.
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Judge noted, Parra’s plea bargain does not provide that such an enhancement is inapplicable to

Parra. (Doc. 610 at 9 (providing that two other sentencing enhancements are inapplicable to

Defendant but not mentioning an obstruction of justice enhancement).)2

       Having conducted a de novo review, I find Parra’s objections to be without merit.

       IT IS THEREFORE ORDERED that:

       1) the Magistrate Judge’s Proposed Findings and Recommended Disposition (Doc. 13)

are adopted by the Court;

       2) the Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By a

Person in Federal Custody (Doc. 1) is dismissed with prejudice;

       3) a Certificate of Appealability is denied; and

       4) judgment will be entered.




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                                                           WILLIAM P. JOHNSON
                                                           UNITED STATES DISTRICT JUDGE




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           This document number reference is to CR 07-0615 WJ.


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